Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-5       filed
                                             Filed     10/03/11USDC
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                                      of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document 199-5215-6
                                             Filedfiled 10/03/11
                                                     09/19/11    USDC
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                                      of 17
                                      of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document 199-5215-6
                                             Filedfiled 10/03/11
                                                     09/19/11    USDC
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Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
                                             Filed     10/03/11USDC
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                        EXHIBIT A.5
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
                                             Filed     10/03/11USDC
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Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
                                             Filed     10/03/11USDC
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                                                                    Colorado    pg 63
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Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
                                             Filed     10/03/11USDC
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                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
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       Case 1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
                              -KLM Document     215-6
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                                                                           Colorado    pg 96
                                            of 17
                                             of 11

                                                                                                                                    Invoice Number: 11037080
                                                                                                                                     Matter Number: 10904447
                                                                                                                             Invoice Date: November 11, 2009
                                                                                                                        Invoice Due Date: December 11, 2009

Jeremy A. Litt, Director, Legal & Comp.
BlackRock Realty Advisors, Inc.
300 Campus Drive, 3rd Floor
Florham Park, NJ 07932




                                                              FULBRIGHT & JAWORSKI L.L.P.
                                                          A Registered Limited Liability Partnership
                                                             600 Congress Avenue, Suite 2400
                                                                    Austin, Texas 78701
                                                                       (512) 474-5201

                                                                                                                                            Tax Identification Number
Requesting Attorney: Jane Snoddy Smith                                                                                                            XX-XXXXXXX


Southlands Town Center Escrow AC70210076
Dispute {Escrow}


FOR PREVIOUSLY UNBILLED PROFESSIONAL SERVICES RENDERED through October 31, 2009 as follows:

  DATE            NAME                                       TIME        AMOUNT                                    SERVICES
10/07/09          BM Vetter                                   3.30        1,122.00            Prepare and proofread first set of Requests for
                                                                                              Production; review local rules regarding service of
                                                                                              process; review cases discussing defective service of
                                                                                              process and when the objection must be raised; review
                                                                                              motions for entry of appearance and withdrawal of
                                                                                              counsel; secure summons for service in case needed.
10/07/09          BM Vetter                                    1.90          646.00           Review Proposed Scheduling order filed with the court;
                                                                                              attend scheduling conference in Judge Hagerty's
                                                                                              courtroom.
10/16/09          J S Smith                                     .50          282.50           Review of memo.

TOTAL CHARGEABLE HOURS ....................................................................................................................................... 5.70

FEES ........................................................................................................................................................................ $2,050.50

LESS: 15% FEE DISCOUNT ...................................................................................................................................... (307.58)

TOTAL FEES ........................................................................................................................................................... $1,742.92

TOTAL FEES AND EXPENSES & SERVICES ....................................................................................................... $1,742.92


TOTAL INVOICE AMOUNT DUE............................................................................................................................. $1,742.92
    Case
    Case No. 1:09-cv-00799-SJJ-KLM
         1:09-cv-00799-SJJ         Document
                           -KLM Document     215-6Filed
                                         199-6       filed 10/03/11 USDC
                                                         09/19/11    USDC Colorado Page
                                                                         Colorado   pg 10
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                                         of 17
                                          of 11

BlackRock Realty Advisors, Inc.
Invoice Number: 11037080
Invoice Date: November 11, 2009
Invoice Due Date: December 11, 2009




Southlands Town Center Escrow AC70210076
Dispute {Escrow}


                                                         *****

The following is a summary of the time dedicated and the fees charged on an average hourly rate basis to this matter by
the Firm's professional staff:

TIMEKEEPER NAME                            TITLE                       HOURS             RATE                     FEE
Jane Snoddy Smith                          Partner                       0.50          $565.00                  282.50
Benjamin Matthew Vetter                    Associate                     5.20          $340.00                1,768.00
                  TOTAL                                                  5.70                                 2,050.50


                                                                       HOURS             RATE                     FEE
Attorney Personnel                                                       5.70          $359.74                2,050.50
                     TOTAL                                               5.70                                 2,050.50


** Average Hourly Rate for all Personnel
      Case
      Case No. 1:09-cv-00799-SJJ-KLM
           1:09-cv-00799-SJJ         Document
                             -KLM Document     215-6Filed
                                           199-6       filed 10/03/11 USDC
                                                           09/19/11    USDC Colorado Page
                                                                           Colorado   pg 11
                                                                                          8
                                           of 17
                                            of 11

                                                                                                                                    Invoice Number: 11037080
                                                                                                                                     Matter Number: 10904447

                                                                                                                        Invoice Date: November 11, 2009
                                                                                                                   Invoice Due Date: December 11, 2009

Jeremy A. Litt, Director, Legal & Comp.
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                                                       A Registered Limited Liability Partnership
                                                          600 Congress Avenue, Suite 2400
                                                                 Austin, Texas 78701
                                                                    (512) 474-5201


                                                                                                                                      Tax Identification Number
Requesting Attorney: Jane Snoddy Smith                                                                                                      XX-XXXXXXX


                                            PLEASE RETURN WITH REMITTANCE
                             TOTAL AMOUNT (PAYABLE IN U.S. DOLLARS) DUE BY DECEMBER 11, 2009


Southlands Town Center Escrow AC70210076
Dispute {Escrow}


FOR PREVIOUSLY UNBILLED PROFESSIONAL SERVICES RENDERED through October 31, 2009 as follows:

TOTAL FEES ........................................................................................................................................................... $2,050.50

LESS: 15% FEE DISCOUNT ...................................................................................................................................... (307.58)

TOTAL FEES AND EXPENSES & SERVICES ....................................................................................................... $1,742.92


TOTAL INVOICE AMOUNT DUE.......................................................................................................................... $1,742.92 **
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-6Filed
                                     199-6       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 12
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                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
                                             Filed     10/03/11USDC
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                                      of 17
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Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-6
                                     199-6       filed
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                                      of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-6Filed
                                     199-7       filed 10/03/11 USDC
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                                                                     Colorado   pg 15
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                                     of 17
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                        EXHIBIT A.6
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-6Filed
                                     199-7       filed 10/03/11 USDC
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Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-6Filed
                                     199-7       filed 10/03/11 USDC
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